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                     Exhibit I
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FD-302 (Rev. 5-8-10)                                                                                                                                C..C.l'l'h 'r:i.ul(�!,; ��.,. d>;i til '1 ,��1\:1
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                                                                                                                         Date of entry       02/15/2022



           On December 20, 2021, SCOTT BECKER, previously known, was interviewed via
        Webex. BECKER was represented during the interview by his attorneys, Jason
        Brown and Phoebe King. Present during the interview from the government were
        SA William Bolinder, AUSA Andrew Thomas, AUSA Matthew Podolsky, David
        Zetlin-Jones (SEC), Andrew Dean (SEC), Brian Fitzpatrick (SEC), Alejandra de
        Urioste (CFTC), Jack Murphy (CFTC), and Ben Rankin (CFTC). Also present for
        parts of the interview was SA Andreas Economou-Ellison with the FBI. -




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   Investigationon     12/20/2021           at   New York, New York, United States (, Other (WebEx))

   fik# 318B-NY-3416770                                                                                                     Date drafted    12/20/2021
   by   William A. Bolinder, ECONOMOU-ELLISON ANDREAS MICHAEL
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                            2021                                   , On   12/20/2021   , Page   6 of 14




        [The document labeled '00 MUFG-Archegos-0000418-MUFG-Archegos-
        0000429_native' was reviewed with BECKER.]

           BECKER was generally aware of the type of language being used in this
        document, but was not aware of what language was specifically used with




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                            2021                                   , On   12/20/2021   , Page   7 of 14




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